                                 Exhibit 6A
                  Excerpts of Deposition of Kenneth Buckfire




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 1 A. I would recommend it.                                  1 nondisclosure agreements?
 2    BY MR. SUMMERS:                                        2 A. That's the universe I'm discussing, approximately 30
 3 Q. Okay.                                                  3 or more.
 4    MR. SUMMERS: Let's mark that for follow-up             4 Q. So, everybody you've talked to signed?
 5 after the deposition.                                     5 A. No, some people didn't want to participate. I can't
 6    BY MR. SUMMERS:                                        6 tell you how many we called. I can tell you how many
 7 Q. You testified that as of the last analysis your        7 we sent NDAs to which have been returned to us, it's
 8 understanding is the estimated amount of the              8 in excess of 30.
 9 termination payment that would be due is roughly three    9 Q. Are some of the people or some of the potential
10 hundred million dollars, is that correct?                10 sources of financing that Miller Buckfire have spoken
11 A. Well, it clearly moves around as the interest rate    11 to said no, we're not interested?
12 curve moves around. I think the most recent number is    12 A. Yes.
13 somewhere reaching 275 and 300 million dollars.          13 Q. And approximately how many have said no?
14 That's before the application of the applicable          14 A. Hasn't been that many, maybe ten. Would your client
15 discount that we had provided for in the termination     15 like one?
16 agreement.                                               16 Q. And do you know who those ten entities are that have
17 Q. And that last analysis, when was that performed?      17 said they are not interested?
18 A. A few days ago.                                       18 A. I do, yes.
19 Q. How does the City plan to get the cash necessary to   19 Q. And who are they?
20 make the termination payment?                            20 A. I'm not going to tell you that.
21    MR. CULLEN: Objection. Foundation. Form.              21 Q. On what basis?
22    BY MR. SUMMERS:                                       22 A. It's commercially sensitive information.
23 Q. Does the City have a plan at this point for how it    23    MR. CULLEN: Counsel, maybe it will help,
24 will obtain the cash necessary to pay the termination    24 and I don't know whether you want this on the record
25 payment?                                                 25 or not, but the position we are going to take with


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 1    MR. CULLEN: Objection, foundation, form,               1   respect to this is that this is a competitive process
 2 but you can address the question.                         2   and the best result in that process is achieved by us
 3 A. Yes, the City has a plan.                              3   being able to negotiate with the individual parties
 4    BY MR. SUMMERS:                                        4   who are out there, and not to litigate the negotiating
 5 Q. And what is that plan?                                 5   strategy before we have something to bring back to the
 6 A. The City intends to secure a debtor in possession      6   court to approve.
 7 financing of sufficient proceeds to fund the              7      So, we're not going to answer questions
 8 termination payment as well as provide sufficient cash    8   about individual parties, we're not going to answer
 9 for the City to execute on its reinvestment program       9   questions about the strategy of negotiating with those
10 during the bankruptcy.                                   10   parties and we're not at liberty to give out the
11 Q. And what is -- what actions, if any, has the City     11   information with respect to the people who responded
12 taken toward obtaining debtor in possession financing?   12   to the NDAs because they understandably don't want to
13 A. We have contacted a large universe of potentially     13   be shopped, don't want to take up a lot of your time.
14 interested investors, many of whom have signed           14   We can fight this through a lot of objections and so
15 nondisclosure agreements, NDAs, pursuant to which they   15   forth, and if we want to fight about that at some
16 have received the request for proposal, the RFP which    16   later time, perfectly fine.
17 went out yesterday.                                      17      You can ask about his general strategy on
18 Q. And is Miller Buckfire leading the effort to obtain   18   this, you can ask about the basis for his confidence
19 debtor in possession financing?                          19   or nonconfidence in it. You can go through those
20 A. Yes.                                                  20   general items, but the actual strategy, the terms of
21 Q. And when you say a large universe of potential        21   arrangements with individual parties I'm not going to
22 investors, do you know approximately how many have       22   have him go into now. Hopefully by the time we get to
23 been talked to?                                          23   the hearing, we'll have an agreement that you will be
24 A. At the moment it's in excess of 30.                   24   on a --
25 Q. And how many have -- how many have signed             25      MR. SUMMERS: Let's go -- I think let's


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 1 go -- move through the questions and see how we do.          1 is submitting a proposal?
 2    MR. CULLEN: Okay.                                         2 Q. Is the City offering art work as collateral?
 3    MR. SUMMERS: I understand the City's                      3 A. I'm not going to discuss the terms of the term sheet,
 4 position on it.                                              4 sorry.
 5    MR. CULLEN: Okay.                                         5 Q. Well, we kind of picked and choose what terms in the
 6    BY MR. SUMMERS:                                           6 RFP we are discussing and not discussing.
 7 Q. You said an RFP went out yesterday?                       7     MR. CULLEN: We have in the attempt to
 8 A. Correct.                                                  8 accommodate your desire for information and to
 9 Q. Approximately how many people was the RPF sent to         9 maintain control of the integrity of this process
10 yesterday?                                                  10 which we believe is best negotiated as a negotiation
11 A. The 30 plus people who signed the NDA.                   11 and not a litigation.
12 Q. How much debtor-in-possession financing does the City    12     MR. SUMMERS: I guess I struggle with
13 hope to obtain?                                             13 understanding why the collateral that's offered in the
14 A. Three hundred fifty million dollars, up to three         14 RPF that's been sent out when we know the interest
15 hundred fifty million dollars.                              15 rate, the amount of the financing the debtor seeks,
16 Q. And does the City have a goal on the interest rate?      16 why that puts the City at a competitive disadvantage.
17 A. The lowest possible interest rate.                       17     MR. CULLEN: We didn't say the interest
18 Q. Does the RFP attempt to define what that lowest          18 rate.
19 possible interest rate is?                                  19     MR. SUMMERS: The lowest possible.
20 A. No.                                                      20     MR. CULLEN: This is the beginning of a
21 Q. Does it define whether the interest rate needs to be     21 negotiation. It's the beginning of a negotiation that
22 fixed or variable?                                          22 isn't at an end yet, that hasn't had any response to
23 A. No.                                                      23 the RFPs yet, it's an initial offer, and that's what
24 Q. What covenants, if any, are included in the RFP as       24 it is, and he's discussing it as such and willing to
25 being acceptable or not acceptable?                         25 testify about it as such, but I'm not going to read


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 1 A. I'm not going to discuss that. It's commercially          1 the terms of the RFP in the newspaper and our bidders
 2 sensitive.                                                   2 are not going to read the terms of the RFP in the
 3 Q. How long of maturity on the DIP financing is the City     3 newspaper because that would hamper the process and
 4 looking to obtain?                                           4 hamper our ability to get best value.
 5 A. Through the pendency of the end of the case.              5     MR. SUMMERS: But we already have in the
 6 Q. And is the City offering a lien on casino revenues in     6 record that the casino revenues are part of the
 7 connection with the DIP financing?                           7 collateral that's being offered, so, what's wrong with
 8 A. In part.                                                  8 finding out what the rest of the collateral that's
 9 Q. I assume the City does not expect to obtain unsecured     9 being offered?
10 financing?                                                  10     MR. CULLEN: Not going to argue with you,
11 A. I would take it if it was offered.                       11 Counsel. I'm telling you what the position is. I've
12 Q. No doubt. What other collateral is the City offering     12 tried to be accommodating. It's as far as I am going
13 to secure the DIP financing loan?                           13 to go.
14 A. I'm not going to answer that question.                   14 BY MR. SUMMERS
15 Q. Does the RFP define what collateral would be             15 Q. Has the City had discussions with the State of
16 available?                                                  16 Michigan about providing financing?
17 A. Yes, it does.                                            17 A. I'm not going to discuss that.
18 Q. And that's been sent out to potential investors?         18 Q. What is the City's view about what has to happen in
19 A. Who have signed nondisclosure agreements.                19 order to be able to obtain debtor-in-possession
20 Q. If somebody new came and said I would be interested in   20 financing -- let me put a finer point.
21 providing DIP financing, you would have them sign an        21     Are there certain events that the City
22 NDA and then provide them the RFP?                          22 believes has to happen in the case for it to be able
23 A. If they wanted to make an unsolicited proposal without   23 to realistically obtain debtor-in-possession
24 the benefit of the RPF, we would be happy to accept         24 financing?
25 it. Are you suggesting your client is interested in         25 A. Yes, there are events in the case.


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 1 all of the gaming revenues until that claim has been         1 A. Yes, by the end of October 2013.
 2 fully satisfied.                                             2 Q. What is the City's intention with respect to analyzing
 3     Now, simple math will tell you if we have                3 the appraisal and making a determination as to the art
 4 170 million of gaming revenues and we have a three           4 work once it receives the appraisal?
 5 hundred million dollar termination payment and we have       5    MR. CULLEN: Objection. Foundation. Form.
 6 an implied interest rate on that termination payment         6 A. I can't even speculate as to what we'll do until we
 7 it will probably take somewhere between two and three        7 have some facts as to what value we're dealing with.
 8 years to pay it off in full.                                 8 That's why they were retained.
 9 Q. That presumes that the lien held by the Swap              9    BY MR. SUMMERS:
10 counterparties against the casino revenues is a valid       10 Q. Has the City considered selling or leasing Belle Isle?
11 and enforceable lien, correct?                              11 A. Not to my knowledge.
12 A. That's what the agreement specifies.                     12 Q. Has the City looked into possible sources of funding
13 Q. Well --                                                  13 from the State of Michigan?
14 A. The 2009 agreement specifies.                            14 A. I'm not going to discuss that.
15 Q. Right, but --                                            15 Q. Has the City looked into possible sources of funding
16 A. That's the agreement the City is bound by if the         16 from the federal government?
17 forbearance agreement is not approved.                      17 A. I'm not going to discuss that either.
18 Q. Unless there's a litigation claim that exists that       18 Q. On what basis?
19 might invalidate the liens?                                 19 A. Commercially sensitive information.
20 A. In which case who knows what the Swap counterparties     20    MR. SUMMERS: I'm going to propose we take
21 might do and what we might have access to in terms of       21 maybe -- why don't we stop the tape for a minute.
22 gaming revenue.                                             22    VIDEO TECHNICIAN: The time is 12:18 p.m.
23 Q. So, the legal analysis is important to informing --      23 we are off the record.
24 A. Any risk the City is being asked to take that doesn't    24    (Recess taken at 12:18 p.m.)
25 have access to gaming revenues is an unacceptable risk      25    (Back on the record at 1:21 p.m.)

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 1 from the point of view of the City's ability to              1    VIDEO TECHNICIAN: We are back on the
 2 rehabilitate itself.                                         2 record at 1:21 p.m. This marks the beginning of tape
 3 Q. Have you evaluated noncore assets as a source of funds    3 number three.
 4 for the City?                                                4    EXAMINATION
 5    MR. CULLEN: Objection. Foundation. Form.                  5    BY MR. HACKNEY:
 6 A. Yes.                                                      6 Q. Mr. Buckfire, good afternoon. My name is Steve
 7    BY MR. SUMMERS:                                           7 Hackney. I'm an attorney at Kirkland & Ellis, and I
 8 Q. And what evaluation have you performed?                   8 represent Syncora Capital Assurance and Syncora
 9 A. As we've identified in the June 14th plan we did          9 Guaranty. Nice to meet you.
10 identify for the benefit of the public and the              10 A. Likewise.
11 creditors all potential noncore assets that might have      11 Q. I think we had a brief conversation which you
12 value that could be used pursuant to the plan of            12 suggested there might have been something you'd like
13 adjustment.                                                 13 to correct with respect to a name from the morning's
14 Q. And on August 5th you announced the City had hired       14 testimony.
15 Christie's to appraise the collection at the Detroit        15 A. Yes, thank you, Mr. Hackney. I incorrectly identified
16 Institute of Art, correct?                                  16 the attorney from Cadwalader who was present at the
17 A. I didn't announce that.                                  17 June 4th meeting. His correct name is Larry
18 Q. The City announced it.                                   18 Stromfeld, S T R O M F E L D. That's his correct name
19 A. The City announced it.                                   19 and that's who attended the meeting.
20 Q. That they hired Christie's, correct? Do you have an      20 Q. If you think of any other corrections, don't hesitate
21 understanding of the approximate value of the City's        21 to stop me and let me know and we'll give you an
22 art collection?                                             22 opportunity to make them.
23 A. No.                                                      23 A. Thank you.
24 Q. Do you have an understanding as to when the City         24 Q. So, I've been listening to your testimony. It's not
25 expects to receive the appraisal from Christie's?           25 my intention to re-ask you all the questions that were


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 1 would have demanded Syncora made good on its Swap           1 or do you mean casino revenues projecting into the
 2 insurance and let Syncora try and stick around and          2 future?
 3 collect the casino revenues, correct?                       3 A. It's commercially sensitive so I'm going to decline to
 4    MR. CULLEN: Objection. Foundation. Form.                 4 answer it.
 5 Calls for speculation.                                      5    MR. HACKNEY: Okay. I'll just reserve on
 6 A. It wasn't an issue for the City.                         6 that. I obviously don't think there's a bunch of
 7    BY MR. HACKNEY:                                          7 value we have going back and forth. I understand your
 8 Q. I'm asking whether you thought that was a possibility    8 position about this. On some of the other ones, we
 9 back at the time you were negotiating the forbearance       9 may come to those briefly and talk about it, but I get
10 agreement?                                                 10 the DIP one.
11 A. It wasn't an issue for the City. Had no impact on the   11    BY MR. HACKNEY:
12 City's access to cash.                                     12 Q. You agree that the goal of the forbearance agreement
13 Q. But if Syncora was a party that might come in in lieu   13 is to get the collateral agreement to terminate so
14 of the Swap counterparties, didn't you want to find        14 that the City can get access to the casino revenues,
15 out whether you might be able to cut a better deal         15 correct?
16 with Syncora?                                              16    MR. CULLEN: Objection. Foundation. Form.
17    MR. CULLEN: Objection. Foundation. Form.                17 A. That is one of the goals.
18 Calls for speculation.                                     18    BY MR. HACKNEY:
19 A. I can't speculate to that.                              19 Q. That is one of the goals. And isn't it true that your
20    BY MR. HACKNEY:                                         20 current expectation is that you need the postpetition
21 Q. All you can say is that you never did, correct?         21 financing, the DIP loan to close in order to be able
22 A. Correct.                                                22 to exercise the option under the forbearance
23 Q. And in fact between June 29th when you spoke to         23 agreement, correct?
24 Mr. Snyder and today, there have never been                24 A. Correct.
25 substantive negotiations between the City and Syncora      25 Q. And there was testimony on that today because you


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 1 to your knowledge, isn't that correct?                      1 don't have the money otherwise, right, Mr. Buckfire?
 2 A. Not on this, no.                                         2 A. That is part of the collateral package, yes.
 3 Q. I wanted to clarify something that you said about the    3 Q. I'm talking about the use of proceeds of the DIP just
 4 DIP earlier and it was mainly that -- you used the          4 so we're clear. Part of the use of proceeds of the
 5 phrase I didn't understand with respect to the casino       5 DIP will be to exercise the option under the
 6 revenues, you said -- you either said that the casino       6 forbearance agreement, correct?
 7 revenues would be a part of the collateral package or       7 A. Correct.
 8 that part of the casino revenues would be in the            8 Q. You understand that you won't have unfettered access
 9 collateral package, and I wanted to clarify that.           9 to the casino revenues until you exercise the option
10    MR. CULLEN: Objection. Foundation. Form.                10 that leads to the termination of a Swap in the
11 I don't think he said either.                              11 collateral agreement, correct?
12 A. I didn't.                                               12 A. Yes.
13    BY MR. HACKNEY:                                         13 Q. Isn't this a bit circular?
14 Q. Oh, okay. Well, I thought for sure you had said one     14 A. Regrettably.
15 of those two, but let me understand what you               15 Q. How did you factor that consideration into the
16 anticipate -- this is subject to counsel's concern,        16 determination as to whether to engage in the
17 but I think there has been testimony about the casino      17 forbearance agreement?
18 revenues as part of the collateral package.                18 A. Well, this is why the Swap collateral agreement is
19    As the banker who is leading the DIP,                   19 such a problem for the City. Unless we can eliminate
20 what's your understanding of the role the casino           20 the collateral and regain control over gaming revenues
21 revenues will play in the collateral package offered       21 without risk of loss because of defaults that would
22 in connection with the DIP?                                22 trap it, we need to rationalize and clean this up in
23 A. They will be part of the collateral package.            23 order to put the City on a sound financial basis.
24 Q. So, they will be part, and when you say they, do you    24 Q. So, there are two parts -- there are -- there may be
25 mean a specific period of time of the casino revenues      25 many parts but two of the important parts of the


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 1 City's plan is are the investments that Mr. Orr wants        1 Q. And why aren't you going to tell me about that?
 2 to make, right?                                              2 A. It's commercially sensitive information.
 3 A. Right.                                                    3 Q. Why?
 4 Q. And the cost reductions he wants to make, right?          4 A. That's my answer.
 5 A. And the increase in staffing levels across services to    5 Q. Well, I can understand why if you are seeking estate
 6 provide higher level services to the City.                   6 guarantee of a DIP or other things today, I get that,
 7 Q. But that's in the reinvestment, right?                    7 and I'm not going to ask you about that, but I am
 8 A. No, it's actually hard to break out that way because a    8 going to say that I think I deserve an answer on what
 9 lot of it is actually in the salaries line and the HR        9 happened prior to June 4 in terms of finding
10 lines.                                                      10 alternative ways to address the City's liquidity
11    So, you have to go back to the numbers and               11 crisis because after all what's been presented to us
12 ask me a lot of those questions.                            12 was if we didn't do this deal, the City would die, and
13 Q. The proposed investments that he wants to make, that     13 I do think we are entitled to ask well, what had you
14 he proposes to make that I'm so ruthlessly omitting,        14 tried to do with other actors, so, can we get over it
15 they are in this document, right?                           15 or --
16 A. Not in this projection.                                  16     MR. CULLEN: You could certainly ask if he
17 Q. They're not in this projection, but they are in this     17 had received any assurance of the availability of any
18 proposal?                                                   18 other funding from any other source during that time
19 A. That's right.                                            19 period.
20 Q. He laid them all out in gory detail?                     20     MR. HACKNEY: Well, I do appreciate that
21 A. Yes, he did.                                             21 but I often tend to ask my own questions. Let me
22 Q. He also lays out a number of cost cutting initiatives,   22 try and ask it in a way that hopefully serves your
23 isn't that correct?                                         23 concerns.
24 A. Yes, he does.                                            24     BY MR. HACKNEY:
25 Q. And one of his goals is also to make the City more       25 Q. And let me first ask you, Mr. Buckfire, had your firm,


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 1 efficient, correct?                                          1 you or your firm undertaken any analysis of this
 2 A. Yes.                                                      2 question? You don't have to tell me what it was.
 3 Q. At the same time he also wants to make it operate         3 Let's go in stages.
 4 better, correct?                                             4     Had you analyzed the problem?
 5 A. Correct.                                                  5 A. Yes, we did.
 6 Q. Those two things from a net operating standpoint work     6 Q. You had analyzed the problem. And is it your
 7 in tension with one another, right?                          7 testimony that divulging the results of that analysis
 8 A. They do over time, but you have to consider the           8 would be commercially sensitive?
 9 timetable and when these things are done.                    9 A. Yes.
10 Q. I want to ask you a question about state and federal     10 Q. Is part of the reason for that because of the way any
11 aid but I don't want to mix it up into the DIP which I      11 potential aid from the City or from the state or the
12 understand -- which I took to mean earlier was one of       12 feds might interplay with the DIP process, is it the
13 the sensitivities there. I want to go back to June 4,       13 way they knit up, is that the problem?
14 2011.                                                       14 A. Yes.
15    Prior to June 4, 2011 had you undertaken                 15 Q. All right.
16 any effort to evaluate whether there was either state       16     MR. HACKNEY: Let me suggest a short break.
17 aid or federal aid that you could use in lieu of            17 I think that it may be time for me to pass the baton.
18 having to negotiate this deal with the Swap                 18     MR. CULLEN: Okay.
19 counterparties?                                             19     VIDEO TECHNICIAN: The time is 2:19 p.m.
20 A. We are assuming there is no aid available to the City.   20 This marks the end of tape number three. We are off
21 Q. You were assuming that there was none, but had you       21 the record.
22 undertaken an effort to determine whether there could       22     (Recess taken at 2:19 p.m.)
23 be some?                                                    23     (Back on the record at 2:30 p.m.)
24 A. I've already testified that I'm not going to discuss     24     VIDEO TECHNICIAN: We are back on the
25 that.                                                       25 record at 2:30 p.m. This marks the beginning of tape


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